Case 2:18-cv-11273-MCA-LDW Document 1170-1 Filed 02/24/21 Page 1 of 3 PageID: 29246




                                                   Exhibit 1

             Small Parties Group Members Who Join This Third-Party Complaint
       1.      Akzo Nobel Coatings Inc.
       2.      Arkema Inc.
       3.      Ashland LLC1
       4.      BASF Catalysts LLC
       5.      BASF Corporation
       6.      Bath Iron Works Corporation
       7.      Benjamin Moore & Co.
       8.      Berol Corporation
       9.      Canning Gumm LLC
       10.     Clean Earth of North Jersey, Inc.
       11.     CNA Holdings LLC (on behalf of itself and its affiliate Celanese Ltd. and the Essex
               County Improvement Authority as mandated pursuant to a prior contractual indemnity)
       12.     Coats & Clark Inc.
       13.     Conopco, Inc., d/b/a Unilever (as successor to CPC/Bestfoods, former parent of Penick
               Corporation)
       14.     Cooper Industries, LLC
       15.     Covanta Essex Company
       16.     DII Industries, LLC
       17.     E. I. du Pont de Nemours and Company
       18.     EnPro Industries, Inc.
       19.     Essex Chemical Corporation2
       20.     Franklin-Burlington Plastics, Inc.
       21.     Garfield Molding Company, Inc.
       22.     General Electric Company
       23.     Givaudan Fragrances Corporation
       24.     Goodrich Corporation
       25.     The Hartz Consumer Group, Inc. as successor to certain liabilities of The Hartz
               Mountain Corporation
       26.     Hexcel Corporation
       27.     Hoffmann-LaRoche Inc.3
       28.     ISP Chemicals LLC
       29.     Kalama Specialty Chemicals, Inc.
       30.     L3Harris Technologies, Inc., successor in interest to Exelis Inc., successor in interest to
               the defense business of ITT Corporation
       31.     Leemilt’s Petroleum, Inc.
       32.     Legacy Vulcan, LLC

   1
     The following Small Parties Group members – Ashland LLC, Givaudan Fragrances Corporation, ISP Chemicals
   LLC, L3Harris Technologies, Inc., and Tiffany and Company – do not join in the claims asserted against the
   Borough of Haledon, Borough of North Caldwell, Borough of Prospect Park, Borough of Rutherford, and the
   Township of Cedar Grove.
   2
     Except as to Township of West Orange.
   3
     Only asserting claims against PVSC, not the member municipalities.


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Case 2:18-cv-11273-MCA-LDW Document 1170-1 Filed 02/24/21 Page 2 of 3 PageID: 29247




       33.   McKesson Corporation
       34.   Nappwood Land Corporation
       35.   National-Standard, LLC
       36.   The Newark Group, Inc.
       37.   Newell Brands Inc.
       38.   Nokia of America Corporation
       39.   Novartis Corporation
       40.   The Okonite Company, Inc.
       41.   Otis Elevator Company
       42.   Pabst Brewing Company, LLC
       43.   Pharmacia LLC
       44.   Pitt-Consol Chemical Company
       45.   PPG Industries, Inc.
       46.   Public Service Electric & Gas Company
       47.   Purdue Pharma Technologies, Inc.
       48.   Quala Systems, Inc.
       49.   Quality Carriers, Inc.
       50.   Revere Smelting and Refining Corporation
       51.   Royce Associates, a Limited Partnership
       52.   Safety-Kleen Envirosystems Company
       53.   Sequa Corporation
       54.   The Sherwin-Williams Company
       55.   Stanley Black & Decker, Inc.
       56.   STWB Inc.
       57.   Sun Chemical Corporation
       58.   TPL Management Operations, a series of Evergreen Resources Group, LLC on behalf of
             itself and Sunoco (R&M), LLC and Sunoco Partners Marketing & Terminals L.P.
       59.   Tate & Lyle Ingredients Americas LLC (f/k/a A.E. Staley Manufacturing Company)
       60.   Textron Inc.
       61.   TFCF America, Inc. (f/k/a 21st Century Fox America, Inc.)
       62.   Tiffany and Company
       63.   ViacomCBS Inc. (f/k/a CBS Corporation)

               CSG Group Members Who Join This Third-Party Complaint

       64.   Curtiss-Wright Corporation4
       65.   Palin Enterprises LLC5
       66.   Spectraserv, Inc.6
       67.   Westrock-Southern Container, LLC, improperly named as Schiffenhaus Packaging Corp.

   4
     Curtiss-Wright Corporation is not asserting claims against the following Third-Party Defendants: (1) Borough of
   Elmwood Park; (2) Borough of Franklin Lakes; (3) City of East Orange; and (4) Township of South Orange Village.
   5
     Palin Enterprises LLC is not asserting claims against the following Third-Party Defendants: (1) Borough of
   Elmwood Park; (2) Borough of Franklin Lakes; (3) City of East Orange; and (4) Township of South Orange Village.
   6
     Spectraserv, Inc. is not asserting claims against the following Third-Party Defendants: (1) Borough of Elmwood
   Park; (2) Borough of Franklin Lakes; (3) Borough of Woodland Park; (4) City of East Orange; (5) City of Newark;
   (6) Township of Cedar Grove; and (7) Township of South Orange Village.


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Case 2:18-cv-11273-MCA-LDW Document 1170-1 Filed 02/24/21 Page 3 of 3 PageID: 29248




       68.     Zeneca Inc.

             Gordon Rees Group Members Who Join This Third-Party Complaint

       69.     Alliance Chemical Inc.
       70.     American Inks & Coatings Corporation
       71.     Atlas Refinery, Inc.
       72.     Borden & Remington Corp.
       73.     Chemtrade Chemicals Corporation
       74.     Darling Ingredients Inc.
       75.     Eden Wood Corporation7
       76.     Elan Chemical Co., Inc.
       77.     Flint Group Incorporated
       78.     Hexion Inc.
       79.     Houghton International Inc.
       80.     INX International Ink Co.
       81.     Kearny Smelting & Refining Corp.
       82.     Melon Leasing Corporation, Inc.
       83.     Meltser-Tonnele Avenue LLC
       84.     Pfister Urban Renewal Corp.
       85.     PMC Global, Inc.
       86.     Rexam Beverage Can Company
       87.     Teval Corp.
       88.     Vanderbilt Minerals, LLC
       89.     Wiggins Plastics, Inc.




   7
       Except as to PVSC and the Town of Kearny.


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